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     MIDLAND FUNDING, LLC AND
   7 ANGELIQUE ROSS
   8
   9                               UNITED STATES DISTRICT COURT
  10                             CENTRAL DISTRICT OF CALIFORNIA
  11                                    WESTERN DIVISION
  12 TONY GLYNN,                                    Case No. 2:16-cv-02678-ODW-SK
  13                      Plaintiff,                NOTICE OF SETTLEMENT AS TO
                                                    DEFENDANTS MIDLAND
  14            v.                                  FUNDING, LLC AND ANGELIQUE
                                                    ROSS
  15 MIDLAND FUNDING, ET AL., DIV.
     MANAGER, ANGELIQUE ROSS,                       Judge: Hon. Otis D. Wright II
  16
     PORTFOLIO RECOVERY, ET AL.                     Magistrate Judge: Hon. Steve Kim
  17
              Defendants.
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                                          NOTICE OF SETTLEMENT
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   1 TO THE COURT:
   2            PLEASE TAKE NOTICE that Plaintiff Tony Glynn and Defendants Midland
   3 Funding, LLC and Angelique Ross (collectively “Midland Defendants”) have
   4 agreed to settle all claims in this matter as to Midland Defendants. The parties
   5 expect a dismissal of the Midland Defendants, with prejudice, to be filed within 75
   6 days due to Plaintiff’s status as a pro se, incarcerated litigant.
   7 DATED: February 7, 2018                SOLOMON WARD SEIDENWURM &
                                            SMITH, LLP
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   9
                                            By: s/Thomas F. Landers
  10
                                                THOMAS F. LANDERS
  11                                            MEI-YING M. IMANAKA
                                                Attorneys for Defendants
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                                                MIDLAND FUNDING, LLC AND
  13                                            ANGELIQUE ROSS
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